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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    NORTHERN DIVISION



 UNITED STATES OF AMERICA,

               Plaintiff,                                    Case No. 2:11-cr-24-02

 v.                                                          HON. R. ALLAN EDGAR

 MICHAEL SCOTT STEPHENS,

            Defendant.
 _________________________________/


                                     ORDER OF DETENTION


               Defendant appeared before the undersigned on December 13, 2011, on a warrant of

arrest issued for defendant’s alleged violations of his conditions of release. At the hearing, the

government requested that the defendant be detained pending trial. Defense counsel indicated that

the defendant wished to have a detention hearing scheduled, but that counsel needed time to prepare

for the hearing. Therefore, IT IS HEREBY ORDERED that the defendant shall be held pending

further proceedings.

               IT IS SO ORDERED.



Date: December 13, 2011                                        /s/ Timothy P. Greeley
                                                              TIMOTHY P. GREELEY
                                                              United States Magistrate Judge
